. Case 1:24-cv-00493-JJM-LDA Documenti- Filed 11/25/24. Page 1of9PagelD#: 1

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT

for the
District of Rhode Island

Case No.

(to be filled in by the Clerk’s Office}

Mee. whee \VzEezRA :
Plaintiff(s)

(Write the full name of each plaintiff who is filing this complaint.

Uf the names of all the plaintiffs cannot fit in the space above,

please write “see attached” in the space and attach an additional

page with the full list of names.)

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Jury Trial: (check one) [] Yes [_|No

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Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see-attached” in the space and attach an additional page
with the full list of names.) “rt

COMPLAINT FOR A CIVIL CASE 8

L The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.

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State and Zip Code oAE Ter Awd CE opie

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B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (if kmown). Attach additional pages if needed.

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Defendant No. 1

Name Rilbobe. Te, AvP OFFELCE oF
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State and Zip Code _kR \ NE ts ps af CII0%
Telephone Number Cts { Gy OK

E-mail Address (if known)

Defendant No. 2

Name _\Warre er CRAD

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City and County CP ost

State and ZipCode \des PE Te ASD O92 aS
Telephone Number

E-mail Address (if known)

Defendant No. 3 .
Name ERP SX. Dax ASE Fes.
Job or Title (known) EOE

Street Address

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State and Zip Code io pe. Terao d COS Os
Telephone Number CLO | — GES 7 GHOAT

E-mail Address (if known)

Defendant No. 4

Name

Job or Title (known)
Street Address

City and County
State and Zip Code

Telephone Number

E-mail Address (if known)

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Pro Sel (Rev. 12/16) Complaint for a Civil Case

I.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[_ |Federal question [] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question
List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.
B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiffs)
a. If the plaintiff is an individual
The plaintiff, (name) ,isacitizen ofthe —
State of (name) .
b. If the plaintiff is a corporation
The plaintiff, (name) . , , is incorporated
under the laws of the State of (name) ;
- and has its principal place of business in the State of (name)
(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)
2. The Defendant(s)
a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Or is a citizen of

(foreign nation)

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b. If the defendant is a corporation .
The defendant, (name) . , is incorporated under
the-laws of the State of (name) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) ;

and has:its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

Ii. ‘Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

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IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages.
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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have

_ evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable ~
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signings § fj) ae /Qey
f f
Signature of Plaintiff 4

Printed Name of Plaintist Merange.. \lxeen

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code ~

Telephone Number:
E-mail Address —

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

Michael Vieira, Plaintiff

The Rhode Island Office of Child Support Services (OCSS), Defendant

CIVIL ACTION NO.:

COMPLAINT

1. INTRODUCTION
This is a civil action filed by Michael Vieira, Plaintiff, seeking relief for violations of his
rights under the Fourteenth Amendment to the United States Constitution and Article 1,
Section 2 of the Rhode Island Constitution, which prohibit any state or governmental

agency from depriving any person of life, liberty, or property without due process of law.

Plaintiff asserts that actions taken by the Rhode Island Office of Child Support Services
(OCSS) unlawfully deprived him of his constitutional rights by issuing a notice of
suspension of his driver's license and vehicle registrations without a hearing, trial, or

judgment, and without the existence of a signed court order.

li. JURISDICTION AND VENUE
This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 as it arises

under the Constitution and laws of the United States.
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Venue is proper in this district under 28 U.S.C. § 1391 because the events giving rise to

this claim occurred in the District of Rhode Island.

lll. PARTIES

Plaintiff Michael Vieira is a resident of Rhode Island.

Defendant Rhode Island Office of Child Support Services (OCSS) is a state agency
responsible for administering child support enforcement and related services in Rhode

island.

IV. STATEMENT OF FACTS
On November 20, 2024, Plaintiff received a letter from OCSS stating that an order had
been issued to suspend his driver's license and all vehicle registrations effective

December 30, 2024, at 11:59 PM.

Upon receiving this notification, Plaintiff sought to obtain a copy of the alleged order from

both OCSS and the Rhode Island Family Court.

Plaintiff was informed by OCSS_and the Family Court that no such order existed. Neither
OCSS nor the Family Court could provide any documentation of a hearing, trial, or

judgment occurring on November 20, 2024, or at any other time regarding this matter.

Plaintiff has not been afforded any opportunity to defend himself in court, nor has he

received proper notice or been subject to a judicial determination in this matter.

Under the Fourteenth Amendment to the U.S. Constitution and Article 1, Section 2 of the
Rhode Island Constitution, Plaintiff is entitled to due process of law before being

deprived of life, liberty, or property.
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The suspension of Plaintiff's driver’s license and vehicle registrations constitutes a
deprivation of liberty and property. Such actions cannot lawfully be taken without proper

judicial proceedings and a signed court order.

The authority to issue orders that deprive individuals of their rights rests exclusively with

the judiciary, as established by the legal and constitutional requirements for due process.

Judges are required to meet specific qualifications under Rhode Island law, including
appointment and confirmation. No employee or representative of OCSS possesses the
qualifications or authority to act in a judicial capacity or issue orders that deprive

individuals of constitutional rights.

V. CAUSES OF ACTION
COUNT |: VIOLATION OF THE FOURTEENTH AMENDMENT (42 U.S.C. § 1983)

Plaintiff incorporates by reference all preceding paragraphs.

Defendant OCSS acted under color of state law in depriving Plaintiff of his constitutional
rights by suspending his driver’s license and vehicle registrations without due process of

law.

Defendant's actions violate the Fourteenth Amendment to the United States Constitution,

which prohibits the deprivation of life, liberty, or property without due process of law.

COUNT Il: VIOLATION OF ARTICLE 1, SECTION 2 OF THE RHODE ISLAND
CONSTITUTION

Plaintiff incorporates by reference all preceding paragraphs.

Defendant OCSS's actions further violate Article 1, Section 2 of the Rhode Island
Constitution, which guarantees that no person shall be deprived of life, liberty, or

property without due process of law.
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Vi. RELIEF REQUESTED
WHEREFORE, Plaintiff respectfully requests that this Honorable Court:
1. Declare that Defendant OCSS’s actions violated Plaintiff's constitutional rights under the
Fourteenth Amendment to the U.S. Constitution and Article 1, Section 2 of the Rhode
Island Constitution.
2. Enjoin Defendant from enforcing the suspension of Plaintiffs driver's license and vehicle
registrations without a valid court order issued by a qualified judge.
3. Order Defendant to cease and desist from issuing notices of suspension or other actions
that deprive individuals of liberty or property without proper judicial proceedings.
4. Waive the $405 filing fee for this action due to Plaintiff's financial hardship.
5. Appoint a court-appointed attorney to assist Plaintiff with procedural matters and ensure
fairness in the proceedings.
6. Impose a fine of $1,000,000 against Defendant as a punitive measure to deter similar
violations of constitutional rights in the future.
7. Award Plaintiff compensatory and punitive damages as deemed just and proper.

8. Grant such other relief as the Court deems necessary and appropriate.

Vil. DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury on all issues so triable.

Respectfully submitted,
wee
y Michael Vieira, Pro Se
718 Central Avenue
Johnston, RI 02919
401-492-9950
mikevieirai @gmail.com

Dated: November 25, 2024
